            Case 3:21-md-02981-JD Document 1027 Filed 10/17/24 Page 1 of 7


 1
   Paul J. Riehle (SBN 115199)
 2 paul.riehle@faegredrinker.com
   FAEGRE DRINKER BIDDLE & REATH LLP
 3 Four Embarcadero Center
   San Francisco, California 94111
 4 Telephone: (415) 591-7500
   Facsimile: (415) 591-7510
 5
   Gary A. Bornstein (pro hac vice)
 6 gbornstein@cravath.com
   Timothy G. Cameron (pro hac vice)
 7 tcameron@cravath.com
   Yonatan Even (pro hac vice)
 8 yeven@cravath.com
   Lauren A. Moskowitz (pro hac vice)
 9 lmoskowitz@cravath.com
   Justin C. Clarke (pro hac vice)
10 jcclarke@cravath.com
   Michael J. Zaken (pro hac vice)
11 mzaken@cravath.com
   M. Brent Byars (pro hac vice)
12 mbyars@cravath.com
   CRAVATH, SWAINE & MOORE LLP
13 375 Ninth Avenue
   New York, New York 10001
14 Telephone: (212) 474-1000
   Facsimile: (212) 474-3700
15
   Attorneys for Plaintiff Epic Games, Inc.
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17                            UNITED STATES DISTRICT COURT

18                         NORTHERN DISTRICT OF CALIFORNIA

19                                 SAN FRANCISCO DIVISION

20
     IN RE GOOGLE PLAY STORE                       Case No. 3:21-md-02981-JD
21   ANTITRUST LITIGATION
                                                   PLAINTIFF EPIC GAMES, INC.’S
22   THIS DOCUMENT RELATES TO:                     OPPOSITION TO DEFENDANT
                                                   GOOGLE’S ADMINISTRATIVE
23   Epic Games, Inc. v. Google LLC et al., Case   MOTION FOR IMMEDIATE PARTIAL
     No. 3:20-cv-05671-JD                          ADMINISTRATIVE STAY OF
24                                                 PERMANENT INJUNCTION;
                                                   EXPEDITED BRIEFING ON ITS
25                                                 MOTION FOR PARTIAL STAY
                                                   PENDING APPEAL; AND TO FILE AN
26                                                 OVERLENGTH MOTION FOR
                                                   PARTIAL STAY PENDING APPEAL
27
                                                   Judge: Hon. James Donato
28
     EPIC’S OPPOSITION TO GOOGLE’S                               Case No. 3:20-CV-05671-JD
     ADMINISTRATIVE MOTION                                       Case No. 3:21-MD-02981-JD
             Case 3:21-md-02981-JD Document 1027 Filed 10/17/24 Page 2 of 7


 1                 On October 11, 2024, Google filed an administrative motion (the “Motion”
 2 (Dkt. 1021)) seeking, among other things, to stay all but one provision of this Court’s October 7,

 3 2024 Permanent Injunction (the “Injunction” (Dkt. 1017)) until 30 days after this Court rules on

 4 Google’s separate motion for a stay of the Injunction pending appeal (Dkt. 1020). This Court

 5 promptly set a hearing on the Motion for October 18, 2024. (Dkt. 1022.) Without waiting for

 6 that hearing, on October 16, 2024, Google tried to bypass this Court and sought an administrative

 7 stay directly from the Ninth Circuit. (Ex. A (No. 24-6256, Dkt. 8-1).) Google also declared it

 8 “impracticable” to seek a stay pending appeal from this Court and simultaneously filed directly

 9 with the Ninth Circuit a motion for stay pending appeal. (Id. at 2.) In the Ninth Circuit, as an

10 alternative to an administrative stay, Google also seeks an expedited briefing schedule on that

11 main stay motion. (Id. at 3-4.) Epic has consented to Google’s request for expedited briefing

12 before the Ninth Circuit (with one proposed adjustment to the specific dates Google sought). (Id.

13 at 4.) Google’s request for an administrative stay from this Court should be denied. 1

14                 First, Google’s filings in the Ninth Circuit effectively seek to moot both of its
15 stay motions to this Court. In its Motion here, Google argues that an administrative stay is

16 needed to allow sufficient time for its motion for stay pending appeal to be decided before the

17 Injunction is effective. Google has made precisely the same argument to the Ninth Circuit and

18 has requested that the Ninth Circuit grant the administrative stay, or expedite briefing on the

19 motion for stay pending appeal, without the benefit of this Court’s decision on either issue. Epic

20 believes that the Ninth Circuit would benefit from this Court’s perspective but recognizes that

21 the Court may prefer to allow these matters to be addressed by the Court of Appeals

22                 Second, if the Court chooses to address it, Google’s Motion for an administrative
23 stay should be denied, because such a stay is not necessary to allow this Court to rule on the

24 motion for stay pending appeal. While, in certain circumstances, a court may enter an

25
         1
         Google’s Motion also seeks an expedited briefing schedule on the underlying motion to
26 stay and an eight-page extension for its brief on that motion. (Mot. at 3.) Epic has agreed to
   Google’s proposed briefing schedule and takes no position on its request for additional pages,
27
   though Epic requests an equivalent extension for its opposition should the Court grant Google’s
28 request.
     EPIC’S OPPOSITION TO GOOGLE’S                                     Case No. 3:20-CV-05671-JD
     ADMINISTRATIVE MOTION                                             CASE NO. 3:21-MD-02981-JD
                                                   1
             Case 3:21-md-02981-JD Document 1027 Filed 10/17/24 Page 3 of 7


 1 administrative stay to maintain the status quo while the court decides the merits of an ordinary

 2 stay application, Google’s Motion does not meet that standard. This is not a case in which the

 3 Court’s judgment has some immediate consequence, such as disbursing funds that cannot later be

 4 recovered, which can only be prevented through an emergency administrative stay. To the

 5 contrary, the Court’s Injunction already included a multi-week stay of implementation.

 6                  In that period, the Court can resolve Google’s motion for a stay pending appeal.
 7 The parties have agreed to an expedited briefing schedule, under which the motion for stay

 8 pending appeal will be fully briefed by October 23, 2024, which leaves over one week before the

 9 November 1, 2024 effective date for the Court to decide the stay motion. Epic is mindful of the

10 Court’s heavy workload but respectfully suggests that this is sufficient time to decide Google’s

11 underlying stay motion, which largely recycles arguments this Court has already considered and

12 rejected. For example, Google argues it has a likelihood of success on appeal of the liability

13 verdict based on issue preclusion from Epic v. Apple, the supposed need to prove aftermarkets, a

14 claim that the jury was wrongly precluded from considering alleged procompetitive effects in

15 other markets, and a claim that there should not have been a jury at all. (Dkt. 1020 at 3-7.) The

16 Court has already ruled on each of these points. (Dkt. 984 at 6-9, 11, 26-28.)

17                  To the extent Google seeks an administrative stay from this Court to give the
18 Ninth Circuit sufficient time to decide if a stay pending appeal is warranted, its request is

19 misdirected. It has sought that relief directly from the Ninth Circuit, which can make its own

20 determination on whether Google has made the requisite showing for such relief. In fact, given

21 the parties’ agreement to expedited briefing in the Ninth Circuit, even Google’s request for an

22 administrative stay to that court is unwarranted, because expedited briefing would allow its

23 motion to be decided before the Injunction’s effective date. 2 What Google is really seeking

24 through its administrative stay motions (in both courts) is a delay in even needing to start

25 preparing for implementation of the Injunction, even if its motion for a stay is ultimately denied.

26

27       2
        The Ninth Circuit briefing could be completed even earlier than Google has proposed, but
28 Google has insisted on taking five days to file a reply on its “emergency” motion. (Ex. A at 4.)
     EPIC’S OPPOSITION TO GOOGLE’S                                     Case No. 3:20-CV-05671-JD
     ADMINISTRATIVE MOTION                                             CASE NO. 3:21-MD-02981-JD
                                                   2
             Case 3:21-md-02981-JD Document 1027 Filed 10/17/24 Page 4 of 7


 1                 Third, Google argues that the Injunction requires compliance on an unreasonable
 2 timeline. This is effectively a request for reconsideration of the Court’s decision and does not

 3 meet the required standard for such relief under Civil Local Rule 7-9. In addition to requiring

 4 leave of court before such a motion can be made, that Rule requires a party to show (1) “a

 5 material difference in fact or law” from what was previously presented to the court that the party

 6 could not in the “exercise of reasonable diligence” have previously known, (2) the “emergence

 7 of new material facts or a change of law” or (3) a “manifest failure by the Court to consider

 8 material facts or dispositive legal arguments”. Civil L.R. 7-9(b). Google does not even attempt

 9 to meet any of these requirements.

10                 Instead, Google simply points out that, during the second hot tub proceeding, it
11 sought 90 days to comply with any contractual remedies and argues that Epic’s proposed

12 injunction provided Google with 90 days to advise officers of the company on how to comply.

13 (Mot. at 2.) Even if properly presented, neither argument justifies giving Google additional time.

14 In fact, counting from the August 14, 2024 hearing when those statements were made to

15 November 1, 2024, Google will have had nearly 90 days to comply with these provisions. In

16 addition, the Court did not adopt Epic’s proposed compliance oversight regime, so those

17 proposals shed no light on the time to comply with the provisions the Court did order.

18                 To the extent Google now believes it cannot comply in a timely way, that is a
19 problem of Google’s own making. Google has been aware of the jury’s verdict since

20 December 11, 2023 (Dkt. 866) and of the terms of Epic’s proposed injunction since at least

21 April 11, 2024, when Epic filed it with this Court (Dkt. 952). 3 Google was also aware that the

22 Court was considering many of the provisions that appear in the injunction since at least May 23,

23 2024, when the Court held its first hot tub proceeding on potential remedies. To the extent

24 Google chose to wait for a final order to begin the work necessary for compliance, it cannot now

25 use that as a basis for an extension of its time to comply.

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27       3
         Pursuant to Court order (Dkt. 917), Epic had previously provided Google a proposed
28 injunction on February 1, 2024.
     EPIC’S OPPOSITION TO GOOGLE’S                                    Case No. 3:20-CV-05671-JD
     ADMINISTRATIVE MOTION                                            CASE NO. 3:21-MD-02981-JD
                                                   3
                Case 3:21-md-02981-JD Document 1027 Filed 10/17/24 Page 5 of 7


 1                  Nor has Google provided sufficient explanation for why it needs additional time
 2 to comply with the specific provisions it seeks to stay:

 3          •    Paragraphs 4-7 and 9-10 of the Injunction, which were also included in Epic’s
 4               proposed injunction, merely prohibit Google from engaging in conduct that was
 5               found illegal by the jury or that accomplishes similar ends to conduct found illegal by
 6               the jury. Google is silent as to why it could not have anticipated these provisions in
 7               the nearly ten months since the jury verdict or the six months since Epic filed its
 8               proposed injunction. Nor does it adequately explain why compliance with any of
 9               these provisions could not be accomplished by November 1. Google fails to show,
10               for example, why it cannot comply immediately with Paragraphs 4-7, which require it
11               not to enter into or enforce certain types of agreements. These provisions are no
12               different in kind than Paragraph 8, which Google does not seek to stay because it is
13               similar to a provision found in the proposed settlement between Google and State
14               Plaintiffs. (Mot. at 1 n.1.) Likewise, Paragraphs 9-10 bar Google from prohibiting
15               developers from engaging in certain conduct. Google can comply with most of those
16               provisions by simply allowing developers to do those things (e.g., communicate
17               payment and download information to users). Paragraph 9’s requirement that Google
18               allow alternative in-app payment methods is a change that Google knew was coming
19               since the December 2023 jury verdict and should have been working on.
20          •    Paragraphs 11 and 12 of the Injunction, which provide for catalog access and
21               distribution of third-party stores through Google Play, provide for remedies that were
22               in Epic’s proposed injunction and were extensively briefed in Google’s proffer. It
23               strains credulity that Google is only now beginning to work on them. Moreover, the
24               eight months of lead time provided for in the Injunction is longer than Google needs
25               to comply. Dr. Michael Ernst testified that taking a practical approach, Google could
26               design and build these provisions in just three months and roll them out over another
27               four months. (Dkt. 985 at 12.) In any event, emergency administrative relief is not
28               warranted for these provisions given that Google’s underlying motion to stay the
     EPIC’S OPPOSITION TO GOOGLE’S                                       Case No. 3:20-CV-05671-JD
     ADMINISTRATIVE MOTION                                               CASE NO. 3:21-MD-02981-JD
                                                    4
                 Case 3:21-md-02981-JD Document 1027 Filed 10/17/24 Page 6 of 7


 1                injunction pending appeal would certainly be decided well before the expiration of
 2                the eight-month lead time period provided for in the Injunction.
 3           •    Paragraph 13 merely requires the appointment of members to a Technical Committee.
 4                Google provides no reason—nor can it—why it cannot meet that deadline. 4
 5                   Google also points to the fact that Apple received 90 days from the entry of the
 6 permanent injunction to comply in Epic v. Apple. (Mot. at 2.) But Google ignores that in Epic v.

 7 Apple, the final decision on liability and the injunction were entered on the same day. Epic

 8 Games, Inc. v. Apple Inc., 559 F. Supp. 3d 898 (N.D. Cal. 2021) (Dkt. 812 and 813). Here,

 9 Google will have had almost 11 months to prepare to comply when measured from the time it

10 was found liable by the jury.

11                   A further stay of the remedy in this case would harm Epic, other developers and
12 consumers. It has been over four years since Epic filed its complaint and almost a year since the

13 jury rendered its verdict, finding Google liable on all counts. Now that the implementation of the

14 Injunction is imminent, Epic and other developers have launched or announced plans to launch

15 stores on Android. For example, Epic launched the Epic Games Store on Android on August 16,

16 2024 in anticipation of this Court’s Injunction. 5 In response to the issuance of the Injunction,

17 Microsoft announced its intent to update its mobile app to allow users to purchase and play Xbox

18 games on their Android smartphones. 6 A delay in implementing the remedies will prevent those

19 stores from competing in a market free from Google’s anticompetitive conduct and delay the

20 benefits that Epic, developers and consumers have been waiting on for years.

21                   Google’s effort to further delay the Injunction is no surprise. Google knows that
22 the longer it puts off compliance with the Injunction, the longer it can enjoy the fruits of its

23 anticompetitive conduct. Delay in implementing the jury's verdict will serve only to further

24 damage developers and consumers. Google’s Motion should be denied on the merits.

25

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         4
         Paragraphs 1-3 and 14 do not require any action by Google.
27       5
         https://www.epicgames.com/site/en-US/news/the-epic-games-store-launches-on-mobile
       6
28       https://www.theverge.com/2024/10/10/24267339/microsoft-xbox-android-purchase-
   games-us-court-ruling
   EPIC’S OPPOSITION TO GOOGLE’S                                   Case No. 3:20-CV-05671-JD
   ADMINISTRATIVE MOTION                                           CASE NO. 3:21-MD-02981-JD
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            Case 3:21-md-02981-JD Document 1027 Filed 10/17/24 Page 7 of 7


 1   Dated: October 17, 2024            Respectfully submitted,
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                                        By:   /s/ Gary A. Bornstein
 3

 4                                      FAEGRE DRINKER BIDDLE & REATH
                                        LLP
 5
                                        Paul J. Riehle ( SBN 115199)
 6
                                        paul.riehle@faegredrinker.com
 7
                                        Four Embarcadero Center
 8                                      San Francisco, California 94111
                                        Telephone: (415) 591-7500
 9                                      Facsimile: (415) 591-7510
10                                      CRAVATH, SWAINE & MOORE LLP
11
                                        Gary A. Bornstein (pro hac vice)
12                                      gbornstein@cravath.com
                                        Timothy G. Cameron (pro hac vice)
13                                      tcameron@cravath.com
                                        Yonatan Even (pro hac vice)
14                                      yeven@cravath.com
                                        Lauren A. Moskowitz (pro hac vice)
15                                      lmoskowitz@cravath.com
                                        Justin C. Clarke (pro hac vice)
16                                      jcclarke@cravath.com
                                        Michael J. Zaken (pro hac vice)
17                                      mzaken@cravath.com
                                        M. Brent Byars (pro hac vice)
18                                      mbyars@cravath.com

19                                      375 Ninth Avenue
                                        New York, New York 10001
20                                      Telephone: (212) 474-1000
                                        Facsimile: (212) 474-3700
21

22                                      Attorneys for Plaintiff Epic Games, Inc.

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     EPIC’S OPPOSITION TO GOOGLE’S                         Case No. 3:20-CV-05671-JD
     ADMINISTRATIVE MOTION                                 CASE NO. 3:21-MD-02981-JD
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